Case 1:16-cr-00451-JMS Document 301 Filed 10/20/20 Page 1 of 14        PageID #: 2369




                  IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII


  UNITED STATES OF AMERICA,                   CR. NO. 16-00451 JMS-03

              Plaintiff,                      ORDER DENYING MOTION FOR
                                              COMPASSIONATE RELEASE OR A
        vs.                                   RECOMMENDATION FOR HOME
                                              CONFINEMENT, ECF NO 286
  ADAM BOGEMA,                 (03)

              Defendant.


  ORDER DENYING MOTION FOR COMPASSIONATE RELEASE OR A
    RECOMMENDATION FOR HOME CONFINEMENT, ECF NO 286

                               I. INTRODUCTION

              Defendant Adam Bogema (“Defendant”) moves, pursuant to 18

 U.S.C. § 3582(c)(1)(A)(i), for compassionate release from USP Lompoc

 (“Lompoc”), based on several pre-existing medical conditions and the ongoing

 COVID-19 pandemic. The court determines that Defendant has failed to show

 extraordinary and compelling reasons to warrant release, and, even if he had, the

 court would deny his Motion based on a consideration of the applicable 18 U.S.C.

 § 3553(a) factors. Thus, for the following reasons, Defendant’s Motion is

 DENIED.
Case 1:16-cr-00451-JMS Document 301 Filed 10/20/20 Page 2 of 14                    PageID #: 2370




                                    II. BACKGROUND

                Defendant is a 43-year-old inmate incarcerated at Lompoc with a

 projected release date of October 26, 2037. See https://www.bop.gov/inmateloc/

 (last visited October 20, 2020).

                On September 22, 2017, Defendant pled guilty without a plea

 agreement to one count of conspiracy to distribute, and possess with intent to

 distribute, 50 grams or more of methamphetamine (count 1), one count of

 attempted possession with intent to distribute 50 grams or more of a mixture or

 substance containing a detectible amount of methamphetamine (count 2), and two

 counts of attempted possession with intent to distribute 50 grams or more of

 methamphetamine (counts 3 and 4). See ECF Nos. 202 & 264; see also Amended

 Presentence Investigation Report (“PSR”) ¶ 12, ECF No. 263 at PageID # 1488-

 89.1 On June 12, 2018, Defendant was sentenced to a total term of 300 months

 imprisonment, and a total term of five years of supervised release. ECF Nos. 262




        1
           Defendant earlier had entered a plea of guilty to count 1 pursuant to a plea agreement,
 but the court permitted him to withdraw that plea after he obtained new counsel. Defendant then
 entered a plea of guilty to all four counts charged against him, without a plea agreement. See
 ECF Nos. 125, 157, 200 & 202.



                                                 2
Case 1:16-cr-00451-JMS Document 301 Filed 10/20/20 Page 3 of 14                   PageID #: 2371




 & 264.2 On June 8, 2020, the Ninth Circuit affirmed the sentence in a

 memorandum disposition. ECF No. 282.

                Defendant submitted a request for compassionate release to Lompoc’s

 Warden on June 14, 2020. See ECF No. 286-10 at PageID # 1996. It appears that

 the Warden has not responded to that request. See ECF No. 286 at PageID # 1664.

 On August 28, 2020, Defendant filed the instant Motion seeking a reduction of

 Defendant’s sentence to time served or in the alternative for the court to

 recommend to the Bureau of Prisons (“BOP”) that Defendant be released on home

 confinement. Id. at PageID # 1669. Defendant supplemented his Motion on

 September 28, 2020 with a Report of Dr. Homer Venters in relation to a pending

 civil action in the Central District of California. ECF No. 299-1. On October 13,

 2020, the Government filed its Response. ECF No. 300.

                The court decides the motion without a hearing pursuant to Local

 Rule 7.1(c).




        2
           Defendant’s total offense level 35, Criminal History Category VI, resulted in an
 advisory United States Sentencing Guideline range of 292 to 365 months incarceration. See ECF
 No. 265 at PageID # 1542. Further, the court ordered that Defendant’s sentence run concurrent
 to any sentences imposed in pending cases in Los Angeles Superior Court; Clark County,
 Nevada Justice Court; and the Central District of California. ECF No. 264 at PageID # 1537.
 On August 15, 2019, Defendant was sentenced in the Central District of California to a
 concurrent 204 months in custody based on his plea of guilty to conspiracy to possess with intent
 to distribute methamphetamine. ECF No. 286-3.

                                                3
Case 1:16-cr-00451-JMS Document 301 Filed 10/20/20 Page 4 of 14          PageID #: 2372




                                III. DISCUSSION

 A.    Legal Standard

             Defendant moves for compassionate release under 18 U.S.C.

 § 3582(c)(1)(A), as amended by the First Step Act of 2018, which provides as

 relevant:

             [T]he court, upon motion of the Director of the Bureau of
             Prisons, or upon motion of the defendant after the
             defendant has fully exhausted all administrative rights to
             appeal a failure of the Bureau of Prisons to bring a
             motion on the defendant’s behalf or the lapse of 30 days
             from the receipt of such a request by the warden of the
             defendant’s facility, whichever is earlier, may reduce the
             term of imprisonment . . . after considering the factors set
             forth in [18 U.S.C.] section 3553(a) to the extent that
             they are applicable, if it finds that—

                   (i) extraordinary and compelling reasons warrant
             such a reduction;
             ....
             and that such a reduction is consistent with applicable
             policy statements issued by the Sentencing
             Commission[.]

             Thus, the court may reduce Defendant’s sentence if: (1) Defendant

 has exhausted the required administrative remedies; (2) Defendant has shown that

 “extraordinary and compelling reasons” warrant the reduction; and (3) the

 reduction is consistent with applicable Sentencing Commission’s policy

 statements. Here, both parties agree that Defendant has exhausted his


                                          4
Case 1:16-cr-00451-JMS Document 301 Filed 10/20/20 Page 5 of 14           PageID #: 2373




 administrative remedies. See ECF No. 286 at PageID # 1664; ECF No. 300 at

 PageID # 2339-40.

              The United States Sentencing Commission’s policy statement, United

 States Sentencing Guideline (“Guideline”) § 1B1.13, provides, as relevant to

 Defendant, that the court may grant a motion for compassionate release only if,

 after consideration of the applicable § 3553(a) factors, the court determines that

 extraordinary and compelling reasons exist to warrant a sentence reduction, the

 defendant is not a danger to another person or to the community, and a sentence

 reduction is consistent with the policy statement.

              Guideline § 1B1.13 provides three specific examples of extraordinary

 and compelling reasons for compassionate release—the defendant’s terminal

 medical condition, deterioration of health due to advanced age, and extenuating

 family circumstances—along with a fourth, catch-all provision granting discretion

 to the Bureau of Prisons (“BOP”) Director to determine whether other

 extraordinary and compelling reasons exist. See Guideline § 1B1.13 n.1(A)-(D).

 In a detailed analysis, this court previously determined that the “discretion to

 determine whether ‘other’ extraordinary and compelling reasons exist granted by

 [Guideline § 1B1.13 n.1(D)] to the BOP Director applies equally to the court when

 ruling on motions for compassionate release.” United States v. Hernandez, 2020


                                           5
Case 1:16-cr-00451-JMS Document 301 Filed 10/20/20 Page 6 of 14                   PageID #: 2374




 WL 3453839, at *4 (D. Haw. June 24, 2020); see also United States v. Brooker,

 __F.3d__, 2020 WL 5739712, at *7 (2d Cir. Sept. 25, 2020) (“[T]he First Step Act

 freed district courts to consider the full slate of extraordinary and compelling

 reasons that an imprisoned person might bring before them in motions for

 compassionate release.”). The court incorporates its Hernandez analysis here.

 B.     Extraordinary and Compelling Reasons Do Not Warrant Release

               Defendant bears the burden to establish extraordinary and compelling

 reasons that warrant compassionate release. See, e.g., United States v. Bolden,

 2020 WL 4286820, at *3 (W.D. Wash. July 27, 2020); United States v. Proudfoot,

 2020 WL 4284128, at *4 (D. Or. July 27, 2020). Here, Defendant contends that he

 should be released from custody because: (1) he is at increased risk should he

 contract COVID-19 because he suffers from obesity, chronic asthma, 3

 hypertension,4 and obstructive sleep apnea (requiring a CPAP unit for sleep), and



        3
            Defendant’s BOP medical records do not reflect any diagnosis or treatment for asthma.
 ECF No. 286-13. In fact, in several places the records state “Hx of Asthma: No.” See, e.g., ECF
 No. 286-13 at Page ID ## 2190, 2249. Nonetheless, in his Motion Defendant states that “[a]s the
 PSR noted, [Defendant] has had chronic asthma since childhood.” ECF No. 286 at PageID
 # 1661. That isn’t what the PSR says—instead, the PSR states that Defendant’s “mother
 reported a childhood history of chronic asthma, during which he was frequently hospitalized
 . . . .” See PSR ¶ 94, ECF No. 263 at PageID # 1512. Regardless, Defendant now states in a
 declaration that he has suffered from severe asthma since birth. ECF No. 286-11 at PageID
 # 2001. Given this record, the court accepts that Defendant has asthma, although it does not
 appear that he has suffered from the symptoms of asthma while in BOP custody.



                                                6
Case 1:16-cr-00451-JMS Document 301 Filed 10/20/20 Page 7 of 14                PageID #: 2375




 has been diagnosed as suffering from bipolar disorder and ADHD; and (2) Lompoc

 “has one of the worst COVID-19 outbreaks in the federal prison system.” ECF

 No. 286 at PageID ## 1660-64. Defendant also points out that he has completed

 various courses while in BOP custody, and proposes a release plan. Id. at PageID

 # 1665; ECF No. 286-12 at PageID # 2005. The court addresses each argument in

 turn.

               The court agrees that Defendant has underlying medical conditions

 that place him or might place him at an increased risk for severe illness from

 COVID-19. According to the Centers for Disease Control and Prevention

 (“CDC”), individuals with “[o]besity (body mass index [BMI] 30 kg/m2 or higher)”

 fall into a high-risk category. See https://www.cdc.gov/coronavirus/2019-ncov/

 need-extra-precautions/people-with-medical-conditions.html (last visited October

 20, 2020). Defendant’s BMI is in the 31.0-31.9 range. See, e.g., ECF No. 286-13

 at Page ID ## 2155, 2188, 2248. Further, an individual with moderate to severe

 asthma or hypertension “might be at an increased risk.” See https://www.cdc.gov/

 coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions




         4
           The BOP medical records suggest that Defendant has hypertension and was prescribed
 Lisinopril, but that prescription was discontinued because Defendant was non-complaint. See
 ECF No. 286-13 at PageID ## 2219, 2248.


                                              7
Case 1:16-cr-00451-JMS Document 301 Filed 10/20/20 Page 8 of 14                 PageID #: 2376




 .html (last visited October20, 2020). In short, Defendant’s pre-existing medical

 conditions place him at an increased risk should he contract COVID-19.

               On the other hand, at 43 years old, Defendant is not in a high-risk age

 group. As stated by the CDC:

               As you get older, your risk for severe illness from
               COVID-19 increases. For example, people in their
               50s are at higher risk for severe illness than people
               in their 40s. Similarly, people in their 60s or 70s
               are, in general, at higher risk for severe illness than
               people in their 50s. The greatest risk for severe
               illness from COVID-19 is among those aged 85 or
               older.

  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/older-

 adults.html (last visited October 20, 2020).

               Next, although Lompoc5 certainly was a COVID-19 “hot spot” several

 months ago, the same is not true at the present time. BOP reports that 846 inmates

 have been tested for COVID-19 at Lompoc, and 145 tests have returned positive.

 See https://www.bop.gov/coronavirus/(COVID-19 resource page) (last visited

 October 20, 2020). But BOP currently reports that “confirmed active cases” are




        5
            Lompoc USP presently houses 896 inmates. See bop.gov/locations/institutions/lom/
 (last visited October 20, 2020).


                                               8
Case 1:16-cr-00451-JMS Document 301 Filed 10/20/20 Page 9 of 14                      PageID #: 2377




 limited to no inmates and four staff members. Id. Thus, Lompoc simply does not

 pose the threat it did several months ago. 6

                 The court finds that based on the existing evidence, Defendant has

  failed to demonstrate that extraordinary and compelling reasons warrant

  compassionate release. Although Defendant’s medical conditions place him at a

  higher risk for complications from COVID-19, Defendant is only 43 years old and




        6
            The court has carefully considered Dr. Venters’ report and findings. ECF No. 299-1.
 The report describes Lompoc’s response to the “unprecedented challenge” of COVID-19 as
 “exhibit[ing] both significant strengths and serious deficiencies” and goes on to state that
 “[o]verall, the COVID-19 response at . . . Lompoc is characterized by some evidence-based
 strategies being superimposed on a grossly inadequate system of health care.” Id. ¶ 39, PageID
 # 2327. The report predicts that current shortcomings in Lompac’s COVID-19 response are
 likely to increase the risk of inmates contracting COVID-19 and anticipates those who do
 become ill are likely to face higher risks of serious illness and death. Id. ¶ 41, PageID # 2328.
 These concerns around the “health system” at Lompoc “create a strong mandate for more
 vigorous consideration and processing of compassionate release applications.” Id. ¶ 42,
 PageID # 2329.
          While the court is sympathetic to the increased risk facing incarcerated individuals during
 the pandemic, the present conditions at Lompac do not, at least absent evidence of more serious
 health complications affecting Defendant, provide a basis for his compassionate release. First, it
 is unclear from the report that conditions at Lompac are materially worse than at other BOP
 facilities. Indeed, while access to paper towels is described as worse than at other facilities, the
 report also indicates that Lompac’s creation of a dedicated hospital unit to care for COVID-19
 patients is “superior to any other effort [Venters] ha[s] seen in [his] 12 facility COVID-19
 inspections.” Id. ¶ 36, PageID # 2318. Moreover, the quantitative evidence before the court
 demonstrates that COVID-19 at Lompoc is, at present, relatively well-contained, with only four
 active cases among staff and no active cases among inmates. In short, although the court
 certainly does not discount the problems facing Lompoc at the present time, Defendant has failed
 to meet his burden to demonstrate extraordinary and compelling reasons to justify his release
 given his age and health conditions.




                                                  9
Case 1:16-cr-00451-JMS Document 301 Filed 10/20/20 Page 10 of 14                    PageID #: 2378




   the number of COVID-19 cases at Lompoc has dropped dramatically over the

   past few months.

 C.      Section 3553(a) Factors

                Even if Defendant had demonstrated that extraordinary and

 compelling reasons exist to justify compassionate release, the court would deny the

 motion based on a consideration of the applicable § 3553(a) factors.

                As relevant to this case, the § 3553(a) factors include: (1) the nature

  and circumstances of the offense and the history and characteristics of the

  defendant; 7 and (2) the need for the sentence imposed “(A) to reflect the

 seriousness of the offense, to promote respect for the law, and to provide just

 punishment for the offense; (B) to afford adequate deterrence to criminal conduct;

 (C) to protect the public from further crimes of the defendant; and (D) to provide

 the defendant with needed educational or vocational training, medical care, or

 other correctional treatment in the most effective manner[.]” 18 U.S.C.

 § 3553(a)(1)-(2). And under the parsimony clause, the court must “impose a

 sentence sufficient, but not greater than necessary, to comply with the purposes set

 forth” in § 3553(a)(2).


         7
           As part of the § 3553(a) analysis, the court considers Defendant’s post-offense conduct,
  including his rehabilitation while in custody. See Pepper v. United States, 562 U.S. 476, 491
  (2011).

                                                 10
Case 1:16-cr-00451-JMS Document 301 Filed 10/20/20 Page 11 of 14                  PageID #: 2379




                Defendant trafficked in substantial quantities of methamphetamine.

 See PSR ¶¶ 15-34, ECF No. 263 at PageID ## 1490-94. In total, Defendant was

 held responsible for 883 grams of 99% pure methamphetamine and 1,831 grams of

 generic methamphetamine. Id. ¶ 34, ECF No. 263 at PageID # 1494. 8 Based on

  his leadership role in the offense, in that Defendant controlled the distribution and

  he was exercising decision-making authority, he also received a four-level upward

  adjustment under the Guidelines. See id. ¶ 48, ECF No. 263 at PageID # 1496;

 ECF No. 271 at PageID # 1588. Further, even though Defendant was detained on

 December 17, 2015 after the controlled delivery of a parcel containing pseudo-

 methamphetamine, he continued to deal methamphetamine the following week.

 PSR ¶¶ 21, 25, ECF No. 263 at PageID ## 1491, 1492.

                Further, Defendant has a long and troubling criminal history. Id.

  ¶¶ 56-71, ECF No. 263 at PageID ## 1497-1506. Aside from the instant

  conviction and his recent conviction in the Central District of California, as an

  adult, Defendant has been convicted of the following offenses, among others:

  possess/manufacture/sell dangerous weapon/etc. in 1995; inflict corporal injury



         8
           The conspiracy charge in this case spanned from January 2015 through May 2016.
  ECF No. 16. The indictment in the Central District of California, see supra footnote 2, charged
  Defendant with distributing multiple kilograms of methamphetamine to an individual in Missouri
  during the same general time period. PSR ¶ 76, ECF No. 263 at PageID # 1507-08.


                                                11
Case 1:16-cr-00451-JMS Document 301 Filed 10/20/20 Page 12 of 14                   PageID #: 2380




  spouse/cohabitant in 1997; threaten crime with intent to terrorize and stalking in

  1999; transport/etc. controlled substance and give false information to peace

  officer in 2000; felon/etc. possess firearm in 2002 and 2010; transport/etc.

  controlled substance and false ID to specific peace officers in 2004; possession of

  controlled substance paraphernalia in 2007; threaten crime with intent to terrorize

  and prevent/dissuade witness with threat/force in 2010; take vehicle without owner

  consent in 2010; and make/etc. equipment: fake access card in 2016. Further,

  Defendant consistently had either probation or parole revoked for these

  convictions. Id. ¶¶ 56-82 ECF No. 263 at PageID ## 1497-1506. In total, at the

  time of sentencing for his most recent offenses, Defendant had a criminal history

  score of 22, resulting in a criminal history category VI. 9 Id. ¶ 72, ECF No. 263 at

  PageID # 1506.

                Further, Defendant still has the vast majority of his sentence to

  serve—he is not scheduled for release from custody until October 26, 2037, over




         9
           The criminal history score of 22 is “off the chart.” A defendant is placed in the
  maximum criminal history category VI with 13 or more criminal history points. See United
  States Sentencing Commission, Guideline Sentencing Table (1987), available at: https://www.
  ussc.gov/guidelines/2018-guidelines-manual/2018-chapter-5 (last visited October 20, 2020).



                                                12
Case 1:16-cr-00451-JMS Document 301 Filed 10/20/20 Page 13 of 14                     PageID #: 2381




  17 years from now. See https://www.bop.gov/inmateloc/ (last visited October 20,

  2020). 10

                 In mitigation, Defendant points out that he has completed a number of

  programs while in custody, that he has maintained strong family and community

  support, and that he has a release plan that mitigates any danger that he might pose.

  See ECF Nos. 286, 286-12.

                 Considering all of the § 3553(a) factors, including the offense

 conduct, Defendant’s criminal history, Defendant’s post-offense conduct, and the

 time remaining on Defendant’s sentence, reducing Defendant’s sentence to time

 served would severely undermine the goals of sentencing set forth in § 3553(a)(2).

                                      IV. CONCLUSION

                 In sum, the court finds that Defendant has not established the requisite

  extraordinary and compelling reasons to warrant compassionate release, and, even

  if he did, the court would deny the motion based on the relevant § 3553(a) factors.



         10
            When evaluating the § 3553(a) factors, courts consider the amount of time remaining
  on a defendant’s sentence—whether short or long—in determining whether to grant
  compassionate release. See e.g., United States v. Pawlowski, 967 F.3d 327, 330-31 (3d Cir.
  2020); United States v. Chambliss, 948 F.3d 691, 694 (5th Cir. 2020); United States v. Maka,
  2020 WL 2544408, at *4 (D. Haw. May 19, 2020); United States v. Bogdanoff, ___ F. Supp. 3d
  ___, 2020 WL 2307315, at *6 (E.D. Pa. May 8, 2020); United States v. Farmer, 2020 WL
  4057550, at *2 (N.D. Ohio July 20, 2020); cf. United States v. Moskop, 2020 WL 1862636, at
  *1-2 (S.D. Ill. Apr. 14, 2020); United States v. Steffey, 2020 WL 3840558, at *1 (D. Nev. July 8,
  2020).

                                                 13
Case 1:16-cr-00451-JMS Document 301 Filed 10/20/20 Page 14 of 14                  PageID #: 2382




  Further, for all the reasons set forth above, the court declines to recommend to the

  BOP that Defendant be placed in home custody.

               For the foregoing reasons, Defendant’s Motion for Compassionate

 Release or a Recommendation for Home Confinement, ECF No. 286, is DENIED.

               IT IS SO ORDERED.

               DATED: Honolulu, Hawaii, October 20, 2020.




                                              /s/ J. Michael Seabright
                                             J. Michael Seabright
                                             Chief United States District Judge




  United States v. Bogema, Cr. No. 16-00451 JMS-03, Order Denying Motion for Compassionate
  Release or a Recommendation for Home Confinement, ECF No. 286




                                             14
